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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION




UNITED STATES OF AMERICA,

v.                                                                     4:92cr4013-WS

NORRIS MOTHERSILL,                                                     4:06cv61-WS

                     Defendant.



                   ORDER ADOPTING THE MAGISTRATE JUDGE’S
                       REPORT AND RECOMMENDATION

       Before the court is the magistrate judge's report and recommendation (doc.

1711) docketed July 12, 2006. The magistrate judge recommends that the defendant's

request to preserve his Booker claim (doc. 1698) be denied. The defendant has filed

objections (doc. 1718) to the report and recommendation.

       Upon review of the record in light of the defendant’s objections, the court has

determined that the magistrate judge’s report and recommendation must be adopted.

       Accordingly, it is ORDERED:

       1. The magistrate judge's report and recommendation (doc. 1718) is adopted

and incorporated by reference in this order of the court.
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       2. The defendant’s request to preserve his Booker claim, or alternatively motion

to vacate, (doc. 1698) is DENIED.

       3. The clerk shall enter judgment accordingly and shall close Case No.

4:06cv61-WS.

       DONE AND ORDERED this          23rd   day of August     , 2006.




                                        s/ William Stafford
                                        WILLIAM STAFFORD
                                        SENIOR UNITED STATES DISTRICT JUDGE




Case No. 92cr4013-WS
